           22-10760-dsj           Doc 1            Filed 06/15/22 Entered 06/15/22 23:41:34                            Main Document
                                                                 Pg 1 of 26

Fill in this information to identify the case:

United States Bankruptcy Court for the:
          Southern                District of                     New York
                                                      (State)                                                                 ☐ Check if this is an
Case number (if known):                                         Chapter      11                                                 amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                 04/22
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                        Revlon, Inc.



2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)            13-3662955______________________________


4. Debtor’s address                       Principal place of business
                                                                                                      Mailing address, if different from principal place
                                                                                                      of business
                                          One New York Plaza
                                                                                                      Number         Street

                                          Number            Street
                                                                                                      P.O. Box
                                          New York                           NY     10004
                                          City                            State     Zip Code          City                         State     Zip Code


                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                          New York
                                          County                                                      Number         Street




                                                                                                      City                         State     Zip Code




5. Debtor’s website (URL)                 www.revlon.com




     Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                      page 1
           22-10760-dsj         Doc 1    Filed 06/15/22 Entered 06/15/22 23:41:34                             Main Document
                                                       Pg 2 of 26
Debtor       Revlon, Inc.                                            Case Number      (if known)
             Name




6.   Type of debtor                ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                   ☐ Partnership (excluding LLP)

                                   ☐ Other. Specify:


                                        A. Check One:
7.   Describe debtor’s business
                                        ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                        ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                        ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                        ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                        ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                        ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                        ☒ None of the above

                                        B. Check all that apply:
                                        ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                        ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                           § 80a-3)
                                        ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                           3159 (Apparel Accessories and Other Apparel Manufacturing)

8. Under which chapter of the           Check One:
   Bankruptcy Code is the
   debtor filing?                       ☐ Chapter 7

                                        ☐ Chapter 9

                                        ☒ Chapter 11. Check all that apply:

                                                         ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or
                                                           affiliates) are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every
                                                           3 years after that).
                                                         ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor
                                                           is a small business debtor, attach the most recent balance sheet, statement of
                                                           operations, cash-flow statement, and federal income tax return or if all of these
                                                           documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                         ☐ The debtor is a small business debtor as defined 11 U.S.C. § 101(51D), and it chooses
                                                           to proceed under Subchapter 5 of Chapter 11.
                                                         ☐ A plan is being filed with this petition.

                                                         ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                           creditors, in accordance with 11 U.S.C. § 1126(b).
                                                         ☒ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                           Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                           Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                           Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                         ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                           12b-2.
                                        ☐ Chapter 12




     Official Form 201                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                     page 2
          22-10760-dsj               Doc 1     Filed 06/15/22 Entered 06/15/22 23:41:34                                Main Document
                                                             Pg 3 of 26
Debtor      Revlon, Inc.                                                     Case Number      (if known)
            Name




9. Were prior bankruptcy cases          ☒ No
   filed by or against the debtor       ☐ Yes.        District                         When                         Case number
   within the last 8 years?                                                                        MM/DD/YYYY
   If more than 2 cases, attach a                     District                         When                         Case number
   separate list.                                                                                  MM/DD/YYYY

10. Are any bankruptcy cases             ☐ No
    pending or being filed by a          ☒ Yes.                                                                     Relationship     Affiliate
                                                      Debtor        See Rider 1
    business partner or an
    affiliate of the debtor?                          District     Southern District of New York
   List all cases, if more than 1,                                                                                  When             06/15/2022
   attach a separate list.                          Case number, if known _______________________                                    MM / DD / YYYY

11. Why is the case filed in this       Check all that apply:
    district?
                                        ☒    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                             district.
                                        ☐    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have         ☒ No
    possession of any real              ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                          Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                  ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                        safety.
                                                        What is the hazard?
                                                  ☐     It needs to be physically secured or protected from the weather.

                                                    ☐    It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                         attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                         assets or other options).
                                                  ☐     Other


                                                  Where is the property?
                                                                                       Number              Street



                                                                                       City                                  State       Zip Code



                                                  Is the property insured?
                                                  ☐ No

                                                  ☐ Yes.         Insurance agency

                                                                 Contact name
                                                                 Phone




                       Statistical and administrative information

13. Debtor's estimation of             Check one:
    available funds
                                       ☒ Funds will be available for distribution to unsecured creditors.
                                       ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.




   Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
              22-10760-dsj           Doc 1         Filed 06/15/22 Entered 06/15/22 23:41:34                                    Main Document
                                                                 Pg 4 of 26
    Debtor      Revlon, Inc.                                                     Case Number    (if known)
                Name


    14. Estimated number of              ☐       1-49                       ☐     1,000-5,000                            ☐    25,001-50,000
        creditors 1                      ☐       50-99                      ☐     5,001-10,000                           ☐    50,001-100,000
                                         ☐       100-199                    ☒     10,001-25,000                          ☐    More than 100,000
                                         ☐       200-999



    15. Estimated assets                 ☐       $0-$50,000                 ☐     $1,000,001-$10 million                 ☐    $500,000,001-$1 billion
                                         ☐       $50,001-$100,000           ☐     $10,000,001-$50 million                ☒    $1,000,000,001-$10 billion
                                         ☐       $100,001-$500,000          ☐     $50,000,001-$100 million               ☐    $10,000,000,001-$50 billion
                                         ☐       $500,001-$1 million        ☐     $100,000,001-$500 million              ☐    More than $50 billion



    16. Estimated liabilities            ☐       $0-$50,000                  ☐    $1,000,001-$10 million                 ☐    $500,000,001-$1 billion
                                         ☐       $50,001-$100,000            ☐    $10,000,001-$50 million                ☒    $1,000,000,001-$10 billion
                                         ☐       $100,001-$500,000           ☐    $50,000,001-$100 million               ☐    $10,000,000,001-$50 billion
                                         ☐       $500,001-$1 million         ☐    $100,000,001-$500 million              ☐    More than $50 billion

                       Request for Relief, Declaration, and Signatures

    WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
               $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

    17. Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
        authorized representative of         petition.
        debtor
                                             I have been authorized to file this petition on behalf of the debtor.
                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.

                                     I declare under penalty of perjury that the foregoing is true and correct.

                                             Executed on          06/15/2022
                                                                  MM/ DD / YYYY


                                                  /s/ Victoria Dolan                                             Victoria Dolan
                                                  Signature of authorized representative of debtor                Printed name

                                                  Title    Chief Financial Officer



    18. Signature of attorney                     /s/ Paul M. Basta, Esq.                                        Date        06/15/2022
                                                  Signature of attorney for debtor                                           MM/DD/YYYY

                                                  Paul M. Basta
                                                  Printed Name
                                                  PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP
                                                  Firm name
                                                  1285 Avenue of the Americas
                                                  Number               Street
                                                  New York                                                               NY                10019
                                                  City                                                                   State               ZIP Code
                                                  (212) 373-3000                                                         pbasta@paulweiss.com
                                                  Contact phone                                                              Email address
                                                  2568046                                                  NY
                                                  Bar number                                           State




1      The Debtors’ estimated assets, liabilities, and number of creditors noted here are provided on a consolidated basis.

       Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 4
       22-10760-dsj            Doc 1        Filed 06/15/22 Entered 06/15/22 23:41:34           Main Document
                                                          Pg 5 of 26



 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                       Southern District of New York
                                       (State)                                                       ☐ Check if this is an
 Case number (if known):                           Chapter    11                                         amended filing


                                                    Rider 1
                     Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in the United
States Bankruptcy Court for the Southern District of New York for relief under chapter 11 of title 11 of the United
States Code. The Debtors have moved for joint administration of these cases under the case number assigned to
the chapter 11 case of Revlon, Inc.


                                                             COMPANY

                               Revlon, Inc.
                               Revlon Consumer Products Corporation
                               Almay, Inc.
                               Art & Science, Ltd.
                               Bari Cosmetics, Ltd.
                               Beautyge Brands USA, Inc.
                               Beautyge U.S.A., Inc.
                               Charles Revson Inc.
                               Creative Nail Design, Inc.
                               Cutex, Inc.
                               DF Enterprises, Inc.
                               Elizabeth Arden (Financing), Inc.
                               Elizabeth Arden Investments, LLC
                               Elizabeth Arden NM, LLC
                               Elizabeth Arden Travel Retail, Inc.
                               Elizabeth Arden USC, LLC
                               Elizabeth Arden, Inc.
                               FD Management, Inc.
                               North America Revsale Inc.
                               OPP Products, Inc.
                               RDEN Management, Inc.
                               Realistic Roux Professional Products Inc.
                               Revlon Development Corp.
                               Revlon Government Sales, Inc.
                               Revlon International Corporation
                               Revlon Professional Holding Company LLC
                               Riros Corporation
                               Riros Group Inc.
                               Roux Laboratories, Inc.
22-10760-dsj   Doc 1   Filed 06/15/22 Entered 06/15/22 23:41:34   Main Document
                                     Pg 6 of 26



                                     COMPANY

               Roux Properties Jacksonville, LLC
               SinfulColors Inc.
               RML, LLC
               PPI Two Corporation
               Revlon (Puerto Rico) Inc.
               Elizabeth Arden (UK) Ltd.
               Elizabeth Arden (Canada) Limited
               Revlon Canada Inc.
               Beautyge I
               Beautyge II, LLC
               BrandCo Almay 2020 LLC
               BrandCo Charlie 2020 LLC
               BrandCo CND 2020 LLC
               BrandCo Curve 2020 LLC
               BrandCo Elizabeth Arden 2020 LLC
               BrandCo Giorgio Beverly Hills 2020 LLC
               BrandCo Halston 2020 LLC
               BrandCo Jean Nate 2020 LLC
               BrandCo Mitchum 2020 LLC
               BrandCo Multicultural Group 2020 LLC
               BrandCo PS 2020 LLC
               BrandCo White Shoulders 2020 LLC
           22-10760-dsj             Doc 1         Filed 06/15/22 Entered 06/15/22 23:41:34                                    Main Document
                                                                Pg 7 of 26
Official Form 201A (12/15)
  Fill in this information to identify the case and this filing:
 Debtor Name Revlon, Inc.

 United States Bankruptcy Court for the:                          Southern District of New York
                                                                                           (State)
 Case number (If known):                                                                   New York



                       Attachment to Voluntary Petition for Non-Individuals Filing for
                                     Bankruptcy under Chapter 11

             1. If any of the debtor’s securities are registered under Section 12 of the Securities Exchange Act of 1934, the SEC file
         number is 001-11178.

                2. The following financial data is the latest available information and refers to the debtor’s condition on
         April 30, 2022.

                a. Total assets                                                                  $2,328,093,000


                b. Total debts (including debts listed in 2.c., below)                           $3,689,240,395

                c. Debt securities held by more than 500 holders
                                                                                                                                Approximate
                                                                                                                                number of
                                                                                                                                holders:


               secured        ☐   unsecured         ☒   subordinated        ☐    6.25% Senior Notes due 2024                     Unknown 1
               secured        ☐   unsecured         ☐   subordinated        ☐    $
               secured        ☐   unsecured         ☐   subordinated        ☐    $
               secured        ☐   unsecured         ☐   subordinated        ☐    $
               secured        ☐   unsecured         ☐   subordinated        ☐    $

                d. Number of shares of preferred stock
                e. Number of shares common stock                                                                                 54,254,019 2

                Comments, if any:




                3.   Brief description of debtor’s business:   The Debtor is a global leader in the beauty industry with a diverse portfolio of
                brands, including Revlon and Elizabeth Arden, spanning multiple beauty segments.



                4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or more of the voting
                securities of debtor:
                MacAndrews & Forbes, Incorporated




  1   Revlon, Inc. does not and cannot know the precise number of beneficial holders of any debt securities that it or its subsidiaries have
      issued.
  2
      The number of shares of common stock reflected herein is based upon the debtor’s latest publicly filed quarterly report as of March 31,
      2022.


         Official Form 201A                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
    22-10760-dsj        Doc 1      Filed 06/15/22 Entered 06/15/22 23:41:34                     Main Document
                                                 Pg 8 of 26


                                  UNITED STATES BANKRUPTCY COURT
                               FOR THE SOUTHERN DISTRICT OF NEW YORK


                                                            )
    In re:                                                  )     Chapter 11
                                                            )
    Revlon, Inc.                                            )     Case No. 22-___________(___)
                                                            )
                                                            )
                              Debtor.                       )
                                                            )

                                     LIST OF EQUITY SECURITY HOLDERS 1

              Name of Equity Holder                      Address of Equity            Percentage of Equity Held
                                                              Holder
                                                         35 East 62nd Street
        MacAndrews & Forbes Incorporated                 New York, New York                      84.8% 2
                                                               10065




1
       This list reflects holders of five percent or more of Revlon, Inc.’s (the “Company”) Class A common stock
       (“Common Stock”) as of April 25, 2022 and serves as the disclosure required to be made by the Debtors
       pursuant to Rule 1007 of the Federal Rules of Bankruptcy Procedure. MacAndrew & Forbes Incorporated and
       certain its affiliates (collectively, “M&F”) is the only greater than five percent holder of the Company’s
       Common Stock. The Company is providing M&F’s ownership information based on a Schedule 13D/A filed
       by M&F with the U.S. Securities and Exchange Commission (the “SEC”) on April 25, 2022 (the “Schedule
       13D/A”). The Company is unable to provide further information other than what is currently publicly disclosed
       in the Company’s filings with the SEC. Thus, by separate motion filed contemporaneously herewith, the
       Debtors are requesting a waiver of the requirement under Rule 1007 to file a list of all of its equity security
       holders.
2
       Of the 46,223,321 shares of Common Stock reported in M&F’s Schedule 13D/A, (i) 32,974,912 (or 71.3%)
       shares of Common Stock are owned by M&F or its wholly owned subsidiaries, (ii) 4,546,352 (or 9.8%) shares
       of Common Stock are owned by Perelman Trust Company, LLC (of which M&F holds 90% of the capital and
       100% of the voting interests therein), (iii) 5,206,933 (or 11.3%) shares of Common Stock are owned by RCH
       Holdings Five Inc. and (iv) 3,495,124 (or 7.6%) shares of Common Stock are owned by 38 East Holdings LLC.
       M&F’s wholly-owned subsidiaries include the following: SGMS Acquisition Corp., SGMS Acquisition Two
       LLC, MAFCO Four LLC, MFV Holdings One LLC, DBX Holdings One LLC, NDX Holdings One LLC,
       MacAndrews & Forbes Group, LLC and MacAndrews & Forbes, LLC.
     22-10760-dsj        Doc 1      Filed 06/15/22 Entered 06/15/22 23:41:34                     Main Document
                                                  Pg 9 of 26


                                   UNITED STATES BANKRUPTCY COURT
                                FOR THE SOUTHERN DISTRICT OF NEW YORK


                                                             )
     In re:                                                  )     Chapter 11
                                                             )
     Revlon, Inc.                                            )     Case No. 22-___________(___)
                                                             )
                                                             )
                               Debtor.                       )
                                                             )

                                         CORPORATE OWNERSHIP STATEMENT

             Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
    following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
    class of the debtor’s equity interest:


                          Shareholder                              Approximate Percentage of Shares Held


     MACANDREWS & FORBES INCORPORATED                                                  84.8% 1




1       MacAndrew & Forbes Incorporated and certain its affiliates (collectively, “M&F”) is the only greater than 10%
        percent holder of the Company’s Common Stock. The Company is providing M&F’s ownership information
        based on a Schedule 13D/A filed by M&F with the Securities and Exchange Commission on April 25, 2022
        (the “Schedule 13D/A”). Of the 46,223,321 shares of Common Stock reported in M&F’s Schedule 13D/A, (i)
        32,974,912 (or 71.3%) shares of Common Stock are owned by M&F or its wholly owned subsidiaries, (ii)
        4,546,352 (or 9.8%) shares of Common Stock are owned by Perelman Trust Company, LLC (of which M&F
        holds 90% of the capital and 100% of the voting interests therein), (iii) 5,206,933 (or 11.3%) shares of Common
        Stock are owned by RCH Holdings Five Inc. and (iv) 3,495,124 (or 7.6%) shares of Common Stock are owned
        by 38 East Holdings LLC. M&F’s wholly-owned subsidiaries include the following: SGMS Acquisition Corp.,
        SGMS Acquisition Two LLC, MAFCO Four LLC, MFV Holdings One LLC, DBX Holdings One LLC, NDX
        Holdings One LLC, MacAndrews & Forbes Group, LLC and MacAndrews & Forbes, LLC.
                                     22-10760-dsj
Debtor __Revlon, Inc., et al.________________________
                                                                       Doc 1               Filed 06/15/22 Entered 06/15/22 23:41:34         Main Document
                                                                                                                               Case number (if known)_____________________________________
                                                                                                        Pg 10 of 26

       Fill in this information to identify the case:
       Debtor name: Revlon Inc., et al.
       United States Bankruptcy Court for the: Southern District of New York
       Case number (If known): ______________                                                                                                                         Check if this is an amended
                                                                                                                                                                       filing

       Official Form 204
       Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 50 Largest Unsecured Claims and Are
       Not Insiders                                                                           12/15
       A list of creditors holding the 50 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity who
       is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the
       holders of the 50 largest unsecured claims.
          Name of creditor and complete mailing address,                        Name, telephone number, and Nature of the claim (for Indicate if claim is                Amount of unsecured claim
                        including zip code                                     email address of creditor contact example, trade debts,    contingent,                    if the claim is fully unsecured, fill in only unsecured claim amount.
                                                                                                                     bank loans,        unliquidated, or                 If claim is partially secured, fill in total claim amount and deduction
                                                                                                                 professional services,     disputed                     for value of collateral or setoff to calculate unsecured claim.
                                                                                                                   and government
                                                                                                                      contracts)                                                                    Deduction for
                                                                                                                                                                               Total claim, if    value of collateral
                                                                                                                                                                              partially secured       or setoff              Unsecured claim
     US Bank, National Association
     Global Corporate Trust Services                                      Rick Prokosch
     60 Livingston Avenue                                                 EMAIL - rick.prokosch@usbank.com
   1                                                                                                                 6.25% Senior Notes due 2024                                                                         $          442,531,771
     EP-MN-WS3C                                                           PHONE - 651- 466-3000
     St. Paul, MN 55107-2292                                              FAX - 651-466-7430
     United States
     Hawkins Parnell & Young LLP                                          Eric Hawkins
     303 Peachtree St. NE                                                 Partner
   2 Ste 4000                                                             EMAIL - ehawkins@hpylaw.com                Trade Payable                                                                                       $             4,379,093
     Atlanta, GA 30308-3243                                               PHONE - 312-667-8400
     United States                                                        FAX - 877-566-1529
     Verescence North America Inc.
     Verescene NA                                                         Ashok Sudan
     900 Third Ave                                                        President
   3                                                                                                                 Trade Payable                                                                                       $             4,022,309
     4th Floor                                                            EMAIL - ashock.sudan@verescence.com
     New York, NY 10022                                                   PHONE - 770- 385-3800
     United States
                                                                          Anthony Esposito
       Orange Die Cutting Corp
                                                                          Chief Executive Officer
       PO 2295 1 Favorite Ave
   4                                                                      EMAIL - aesposito@orangepkg.com            Trade Payable                                                                                       $             3,641,358
       Newburgh, NY 12550
                                                                          PHONE - 845-562-0900
       United States
                                                                          FAX - 845-562-1020
                                                                          Scott Hansen
       NCH Marketing Services, Inc.
                                                                          Chief Executive Officer
       155 N. Pfingsten Road, Suite 200
   5                                                                      EMAIL - shansen@nchmarketing.com           Trade Payable                                                                                       $             2,962,089
       Deerfield, IL 60015
                                                                          PHONE - 915-772-3399
       United States
                                                                          FAX - 847-317-0083
                                                                          Andreas Fibig
       International Flavors & Fragrances
                                                                          Chief Executive Officer
       600 State Highway 36
   6                                                                      EMAIL - andreas.fibig@iff.com              Trade Payable                                                                                       $             2,877,814
       Hazlet, NJ 07730
                                                                          PHONE - 732-264-4500
       United States
                                                                          FAX - 212-708-7132
       Tinuiti, Inc
                                                                          Zach Morrison
       121 S. 13Th Street
                                                                          Chief Executive Officer
   7   3rd Floor                                                                                                     Trade Payable                                                                                       $             2,419,449
                                                                          EMAIL - zach.morrison@tinuiti.com
       Philadelphia, PA 19107
                                                                          PHONE - 833-846-8484
       United States
       Englewood Lab, Inc                                                 Henry Cho
       20 Campus Road                                                     Chief Executive Officer
   8                                                                                                                 Trade Payable                                                                                       $             2,337,795
       Totowa, NJ 07512                                                   EMAIL - henry.c@englewoodlab.com
       United States                                                      PHONE - 201-567-2267
       Givaudan Fragrances Corp                                           Gilles Andrier
       300 Waterloo Valley Road                                           Chief Executive Officer
   9                                                                                                                 Trade Payable                                                                                       $             2,117,711
       Mt. Olive, NJ 07828                                                EMAIL - gilles.andrier@givaudan.com
       United States                                                      PHONE - 973-576-9500
       Cass Information Systems Inc                                       Eric H. Brunngraber
       12444 Powerscourt Drive, 550                                       Chief Executive Officer
  10                                                                                                                 Trade Payable                                                                                       $             1,925,122
       St Louis, MO 63131                                                 EMAIL - cmreardon@cassinfo.com
       United States                                                      PHONE - 314-506-5500
       Flywheel Digital LLC
                                                                          Larry Pluimer
       Ascential Inc
                                                                          Chief Executive Officer
  11   1801 Porter St. 300                                                                                           Trade Payable                                                                                       $             1,884,047
                                                                          EMAIL - pluimerl@flywheeldigital.com
       Baltimore, MD 21230
                                                                          PHONE - 206-257-8207
       United States
                                                                          Tomás Espinosa
                                                                          Chief Executive Officer
     Schwan Cosmetics USA, Inc.
                                                                          EMAIL -
     3202 Elam Farms Pkwy
  12                                                                      robin.gabriesheski@schwancosmeticsusa.co Trade Payable                                                                                         $             1,856,440
     Mufreesboro, TN 37127
                                                                          m
     United States
                                                                          PHONE - 615-396-9156
                                                                          FAX - 615-867-9986
       Ancorotti Cosmetics                                                Renato Ancorotti
       Via Dell'Industria 22                                              Chief Executive Officer
  13                                                                                                                Trade Payable                                                                                        $             1,729,242
       26013 Crema (Cr), Cremona,                                         EMAIL - rancorotti@ancorotticosmetics.com
       Italy                                                              PHONE - 3-738-768-1113
       VPI Holding Company LLC                                            Jamie Egasti
       Smolice 1L Hala F                                                  Executive Chairman
  14                                                                                                                 Trade Payable                                                                                       $             1,607,336
       Strykow, 95-010                                                    EMAIL - jamieegasti@vpi-inc.com
       Poland                                                             PHONE - 312-255-4800
                                                                          Jeffrey K. Casselman
     Array Canada Inc
                                                                          Chief Executive Officer
     45 Progress Ave.
  15                                                                      EMAIL - jcasselman@arraymarketing.com      Trade Payable                                                                                       $             1,478,924
     Toronto, ON M1P 2Y6
                                                                          PHONE - 416-299-4865
     Canada
                                                                          FAX - 416-292-9759



Official Form 204                                                                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims                                                                page 1
                                   22-10760-dsj
Debtor __Revlon, Inc., et al.________________________
                                                           Doc 1            Filed 06/15/22 Entered 06/15/22 23:41:34         Main Document
                                                                                                                Case number (if known)_____________________________________
                                                                                         Pg 11 of 26

          Name of creditor and complete mailing address,      Name, telephone number, and Nature of the claim (for Indicate if claim is                  Amount of unsecured claim
                        including zip code                   email address of creditor contact example, trade debts,    contingent,                      if the claim is fully unsecured, fill in only unsecured claim amount.
                                                                                                   bank loans,        unliquidated, or                   If claim is partially secured, fill in total claim amount and deduction
                                                                                               professional services,     disputed                       for value of collateral or setoff to calculate unsecured claim.
                                                                                                 and government
                                                                                                    contracts)                                                                      Deduction for
                                                                                                                                                               Total claim, if    value of collateral
                                                                                                                                                              partially secured       or setoff              Unsecured claim

     One NY Plaza Co LLC                                    Jeremiah Larkin
     250 Vesey Street                                       Executive Vice President, Director of Leasing
  16 15th Floor                                             EMAIL -                                       Trade Payable                                                                                  $             1,465,618
     New York, NY 10281                                     Jeremiah.Larkin@brookfieldproperties.com
     United States                                          PHONE - 212-417-7100

       Ibotta Inc                                           Bryan Leach
       19957 Dept Ch, Ste 400                               Chief Executive Officer
  17                                                                                                     Trade Payable                                                                                   $             1,440,514
       Palatine, IL 60055-9957                              EMAIL - bryan.leach@ibotta.com
       United States                                        PHONE - 720-984-2781
                                                            Steven R. Boal
       Quotient Technology Inc
                                                            Chief Executive Officer
       PO Box 204472
  18                                                        EMAIL - steven.boal@quotient.com             Trade Payable                                                                                   $             1,408,335
       Dallas, TX 75320-4472
                                                            PHONE - 650-605-4600
       United States
                                                            FAX - 650-605-4600
     Commission Junction                                    Mayuresh Kshetramade
     4140 Solutions Center                                  Chief Executive Officer
  19                                                                                                     Trade Payable                                                                                   $             1,405,103
     Chicago, IL 60677-4001                                 EMAIL - mayureshkshetramade@cj.net
     United States                                          PHONE - 800-761-1072
     The Nielsen Company US LLC                             David Kenny
     675 6th Ave                                            Chief Executive Officer
  20                                                                                                     Trade Payable                                                                                   $             1,361,652
     New York, NY 10011                                     EMAIL - david.kenny@nielsen.com
     United States                                          PHONE - 617-320-5767
                                                            Pierre Miasnik
       Fiabila USA Inc.
                                                            Chief Executive Officer
       106 Iron Mountain Road
  21                                                        EMAIL - pmiasnik@fiabila.com.                Trade Payable                                                                                   $             1,357,227
       Mine Hill, NJ 07803
                                                            PHONE - 973-659-9510
       United States
                                                            FAX - 973-659-6504
     Salcedo, Stephanie
     Estate of Theresa M. Garcia                            Amin M. Omar
     c/o Dobs Legal LLP                                     Partner
  22                                                                                                     Litigation Settlement                                                                           $             1,125,000
     302 N Market Street                                    EMAIL - aomar@dobslegal.com
     Dallas, TX 75202                                       PHONE - 214-722-5990
     United States
                                                            Gilbert Ghostine
     Firmenich
                                                            Chief Representative
     250 Plainsboro Road
  23                                                        EMAIL - kirra.thomas@firmenich.com           Trade Payable                                                                                   $             1,220,239
     Plainsboro, NJ 08536
                                                            PHONE - 212-489-4800
     United States
                                                            FAX - 212-980-4312
                                                            S Lawrence Davis
       Shorewood Corporation of Canada Ltd.
                                                            Chief Executive Officer
       PO Box 4232
  24                                                        EMAIL - ldavis@shorewoodgrp.com              Trade Payable                                                                                   $             1,198,038
       Toronto, ON M5W 5P4
                                                            PHONE - 416-292-3990
       Canada
                                                            FAX - 416-299-9627
     Premium Retail Services                                Brian Travers
     618 Spirit Drive                                       Chief Executive Officer
  25                                                                                                     Trade Payable                                                                                   $             1,065,274
     Chesterfield, MO 63005                                 EMAIL - btravers@premiumretail.com
     United States                                          PHONE - 800-800-7318
     VMWARE, Inc.                                           Sumit Dhawan
     3401 Hillview Ave.                                     President, Chief Customer Officer
  26                                                                                                     Trade Payable                                                                                   $             1,079,444
     Palo Alto, CA 94304                                    EMAIL - sdhawan@vmware.com
     United States                                          PHONE - 408-221-5025
       Valassis Communications Inc                          Victor Nichols
       90469 Collection Center Drive                        Chief Executive Officer
  27                                                                                                     Trade Payable                                                                                   $             1,010,384
       Chicago, IL 60693                                    EMAIL - victor.nichols@uk.experian.com
       United States                                        PHONE - 866-250-9689
                                                            Roger Hwang
     Crystal Claire
                                                            Chief Executive Officer
     165 Milner Ave
  28                                                        EMAIL - rogerh@crystalclaire.com             Trade Payable                                                                                   $              968,578
     Scarborough, ON M1S 4G7
                                                            PHONE - 416-421-1882
     Canada
                                                            FAX - 416-421-5025
                                                            Dennis J Prischak
       Plastek Industries Inc
                                                            Chief Executive Officer
       2425 West 23Rd St
  29                                                        EMAIL - prischakd@plastekgroup.com           Trade Payable                                                                                   $              925,237
       Erie, PA 16506
                                                            PHONE - 814-878-4400
       United States
                                                            FAX - 814-878-4499
     Kerr, Myriam And Kerr, Robert
     c/o Simon Greenstone Panatier, PC                      Tyson Gamble
     1201 Elm Street                                        Counsel
  30                                                                                                     Litigation Settlement                                                                           $              900,000
     Suite 3400                                             EMAIL - tgamble@sgptrial.com
     Dallas, TX 75270                                       PHONE - 214-276-7680
     United States
                                                            Julie Sweet
       Accenture International Limited
                                                            Chief Executive Officer
       1 Grand Canal Square, Grand Canal H
  31                                                        EMAIL - julie.sweet@accenture.com            Trade Payable                                                                                   $              915,000
       Dublin, D02 P820
                                                            PHONE - 917-452-4400
       Ireland
                                                            FAX - 917-527-9915
                                                            Rob Theroux
       Kolmar Laboratories
                                                            Chief Executive Officer
       PO Box 12469
  32                                                        EMAIL - robert.theroux@kdc-one.com           Trade Payable                                                                                   $              912,472
       Newark, NJ 07101-3569
                                                            PHONE - 845-856-5311
       United States
                                                            FAX - 845-856-8831
     Salesforce.com Inc.
     Salesforce Tower
                                                            Marc Benioff
     415 Mission Street
  33                                                        Chief Executive Officer                      Trade Payable                                                                                   $              875,269
     3rd Floor
                                                            EMAIL - marc_benioff@salesforce.com
     San Francisco, CA 94105
     United States




Official Form 204                                                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims                                                                page 2
                                 22-10760-dsj
Debtor __Revlon, Inc., et al.________________________
                                                              Doc 1            Filed 06/15/22 Entered 06/15/22 23:41:34         Main Document
                                                                                                                   Case number (if known)_____________________________________
                                                                                            Pg 12 of 26

         Name of creditor and complete mailing address,          Name, telephone number, and Nature of the claim (for Indicate if claim is                  Amount of unsecured claim
                       including zip code                       email address of creditor contact example, trade debts,    contingent,                      if the claim is fully unsecured, fill in only unsecured claim amount.
                                                                                                      bank loans,        unliquidated, or                   If claim is partially secured, fill in total claim amount and deduction
                                                                                                  professional services,     disputed                       for value of collateral or setoff to calculate unsecured claim.
                                                                                                    and government
                                                                                                       contracts)                                                                      Deduction for
                                                                                                                                                                  Total claim, if    value of collateral
                                                                                                                                                                 partially secured       or setoff            Unsecured claim
     Beauty Care Professional Products Participations, S.A.
     33 Boulevard Prince Henri                                 Emanuela Brero                                                       Contingent,
  34                                                                                                    Purchase Price Adjustment                                                                           Undetermined
      L-1724                                                   EMAIL - ebrero@cvc.com                                               Unliquidated
     Luxembourg
     Dassin, Gerald
  35 Address on file                                           Contact information on file              Non-Qualified Pension       Unliquidated                                                            Undetermined

     Dessen, Stanley
  36 Address on file                                           Contact information on file              Non-Qualified Pension       Unliquidated                                                            Undetermined

     Draper, Robert E.
  37 Address on file                                           Contact information on file              Non-Qualified Pension       Unliquidated                                                            Undetermined

     Engelman, Irwin
  38 Address on file                                           Contact information on file              Non-Qualified Pension       Unliquidated                                                            Undetermined

     Fellows, George
  39 Address on file                                           Contact information on file              Non-Qualified Pension       Unliquidated                                                            Undetermined

     Fox, William J.
  40 Address on file                                           Contact information on file              Non-Qualified Pension       Unliquidated                                                            Undetermined

     Gedeon, Harvey
  41 Address on file                                           Contact information on file              Non-Qualified Pension       Unliquidated                                                            Undetermined

     Greff, Douglas
  42 Address on file                                           Contact information on file              Non-Qualified Pension       Unliquidated                                                            Undetermined

     Kretzman, Robert K.
  43 Address on file                                           Contact information on file              Non-Qualified Pension       Unliquidated                                                            Undetermined

     Laurenti, Giorgio L.
  44 Address on file                                           Contact information on file              Non-Qualified Pension       Unliquidated                                                            Undetermined

     Levin, Jerry W.
  45 Address on file                                           Contact information on file              Non-Qualified Pension       Unliquidated                                                            Undetermined

     Nichols III, Wade H.
  46 Address on file                                           Contact information on file              Non-Qualified Pension       Unliquidated                                                            Undetermined

     Shapiro, Paul E.
  47 Address on file                                           Contact information on file              Non-Qualified Pension       Unliquidated                                                            Undetermined

     Pension Benefit Guaranty Corporation                      Patricia Kelly
     PO 2295 1 Favorite Ave                                    Chief Financial Officer
                                                                                                         Under Funded Pension       Contingent,
  48 N.W. Suite 340                                            EMAIL - kelly.patricia@pbgc.gov                                                                                                              Undetermined
                                                                                                        Liability                   Unliquidated
     Washington, DC, DC 20005-4026                             PHONE - 703-448-0461
     United States                                             FAX - 202-326-4112
     Revlon Pension Trustee Company (U.K.) Limited
     Greater London House
                                                                                                         Under Funded Pension       Contingent,
  49 Hampstead Road                                            Contact information on file                                                                                                                  Undetermined
                                                                                                        Liability                   Unliquidated
     London, NW1 7QX
     United Kingdom
     Financial Services Regulatory Authority of Ontario        Mark White
     25 Sheppard Ave W Suite 100                               Chief Executive Officer                   Under Funded Pension       Contingent,
  50                                                                                                                                                                                                        Undetermined
     Toronto, ON M2N 6S6                                       EMAIL - mark.white@fsrao.ca              Liability                   Unliquidated
     Canada                                                    PHONE - 202-974-6012




Official Form 204                                                    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims                                                                page 3
           22-10760-dsj              Doc 1         Filed 06/15/22 Entered 06/15/22 23:41:34                             Main Document
                                                                Pg 13 of 26
    Fill in this information to identify the case and this filing:

   Debtor Name Revlon,       Inc.
   United States Bankruptcy Court for the:                Southern District of New York
                                                                                                 (State)
   Case number (If known):                                                                      New York



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152,
1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
          another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
          correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration                     List of Equity Security Holders, Corporate Ownership
            Statement
    I declare under penalty of perjury that the foregoing is true and correct.

     Executed on
                                                                                  /s/ Victoria Dolan
                                        06/15/2022
                                        MM/ DD/YYYY                              Signature of individual signing on behalf of debtor
                                                                                 Victoria Dolan
                                                                                 Printed name
                                                                                 Chief Financial Officer

                                                                                 Position or relationship to debtor




Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
 22-10760-dsj      Doc 1     Filed 06/15/22 Entered 06/15/22 23:41:34              Main Document
                                          Pg 14 of 26



                                      Omnibus Resolutions
                                              of the
                                    Revlon Group Companies
                                            and their
                                   Respective Governing Bodies

                WHEREAS, (i) each of the entities listed on Exhibit A attached hereto
(collectively, the “Delaware Corporations”) is a Delaware corporation managed by a board of
directors (collectively, the “Delaware Boards”); (ii) each of the entities listed on Exhibit B attached
hereto (collectively, the “New York Corporations”) is a New York corporation managed by a board
of directors (collectively, the “New York Boards”); (iii) each of the entities listed on Exhibit C
attached hereto (the “Beautyge SPVs”) is a Delaware limited liability company managed by
Beautyge I (as defined below); (iv) Revlon Professional Holding Company LLC (“RPHC”) is a
Delaware limited liability company managed by a board of managers (the “RPHC Board”);
(v) RML, LLC (“RML”) is a Delaware limited liability company managed by its sole member,
Revlon International Corporation; (vi) Art & Science, Ltd. (“Art & Science”) is an Illinois
corporation managed by a board of directors (the “Art & Science Board”); (vii) Creative Nail
Design, Inc. (“Creative Nail”) is a California corporation managed by a board of directors (the
“Creative Nail Board”); (viii) Elizabeth Arden, Inc. (“Elizabeth Arden”) is a Florida corporation
managed by a board of directors (the “Elizabeth Arden Board”); (ix) each of Elizabeth Arden
Investments, LLC, Elizabeth Arden USC, LLC and Elizabeth Arden NM, LLC (the “Elizabeth
Arden LLCs”) is a Delaware limited liability company managed by Elizabeth Arden; (x) Roux
Properties Jacksonville, LLC (“Roux Properties”) is a Florida limited liability company managed
by a board of managers (the “Roux Properties Board”); (xi) Revlon (Puerto Rico) Inc. (“Revlon
(Puerto Rico)”) is a Puerto Rico corporation managed by a board of directors (the “Revlon (Puerto
Rico) Board”); (xii) Revlon Canada Inc. (“Revlon Canada”) is a corporation organized under the
Canada Business Corporations Act managed by a board of directors (the “Revlon Canada Board”);
(xiii) Elizabeth Arden (Canada) Limited (“Elizabeth Arden Canada” and together with Revlon
Canada, the “Canadian Companies”) is a corporation organized under the Canada Business
Corporations Act managed by a board of directors (the “Elizabeth Arden Canada Board” and,
together with the Revlon Canada Board, the “Canadian Boards”); (xiv) Elizabeth Arden (UK) Ltd.
(“Elizabeth Arden UK”) is a private limited company incorporated in England and Wales managed
by a board of directors (the “Elizabeth Arden UK Board”); and (xv) Beautyge I (“Beautyge I”) is
an exempted company limited by shares incorporated in the Cayman Islands managed by a board
of directors (the “Beautyge I Board”);

               WHEREAS, the Delaware Corporations, the New York Corporations, the
Beautyge SPVs, RPHC, RML, Art & Science, Creative Nail, Elizabeth Arden, the Elizabeth Arden
LLCs, Roux Properties, Revlon (Puerto Rico), the Canadian Companies, Elizabeth Arden UK and
Beautyge I are referred to collectively herein as the “Revlon Group Companies”;

               WHEREAS, the Delaware Boards, the New York Boards, the RPHC Board, the
Art & Science Board, the Creative Nail Board, the Elizabeth Arden Board, the Roux Properties
Board, the Revlon (Puerto Rico) Board, the Canadian Boards, the Elizabeth Arden UK Board and
the Beautyge I Board are referred to collectively herein as the “Boards”;
 22-10760-dsj      Doc 1     Filed 06/15/22 Entered 06/15/22 23:41:34             Main Document
                                          Pg 15 of 26



                WHEREAS, as used herein with respect to action by any Board, the term “Official
Capacity” means action by such Board on behalf of the Revlon Group Company of which it is the
board of directors or managers, as applicable, and/or (a) in the case of the Elizabeth Arden Board,
in its capacity as the Board of Elizabeth Arden, acting in its capacity as the sole member and
manager of each of the Elizabeth Arden LLCs, (b) in the case of the Beautyge I Board, in its
capacity as the Board of Beautyge I, acting in its capacity as the “Member” of each of the Beautyge
SPVs (as defined in their respective limited liability company agreements (the “SPV LLC
Agreements”)), (c) in the case of the board of directors of Revlon International Corporation, in its
capacity as the Board of Revlon International Corporation, acting in its capacity as the sole member
and manager of RML, LLC, and (d) in the case of the board of directors of Beautyge Brands USA,
Inc. (the “Beautyge Brand Board”), in its capacity as the Beautyge Brand Board, acting in its
capacity as the sole shareholder of Beautyge I;

               WHEREAS, any plural term defined herein in reference to a collective shall, when
used in the singular, refer to any one of such collective;

               WHEREAS, each Board is adopting the resolutions set forth below in its Official
Capacity with respect to each applicable Revlon Group Company;

                WHEREAS, (i) pursuant to Section 9(d) of each of the SPV LLC Agreements, the
actions set forth below under heading 1 (the “Specified Resolutions”) require for their
authorization, in addition to the approval of the Beautyge I Board in its Official Capacity in respect
of such Beautyge SPV, the written consent of such Beautyge SPV’s “Independent Manager” (as
defined in its SPV LLC Agreement), (ii) Mr. Michael Reinhold, an employee of Corporate
Creations Network Inc. (the registered agent of each of the Beautyge SPVs), is currently appointed
as the Independent Manager of each Beautyge SPV and, accordingly, (iii) the Independent
Manager has executed and delivered a written consent to the actions approved by the Specified
Resolutions (such consent, the “Independent Manager Consent”);

                  WHEREAS, the Boards have reviewed and considered the financial and
operational condition of their respective Revlon Group Companies and of the Revlon Group
Companies as a whole, including (which word, for all purposes of these resolutions, shall be
interpreted to be followed by the words, “without limitation”) the historical performance of the
Revlon Group Companies, the assets of the Revlon Group Companies, the current and long-term
liabilities of the Revlon Group Companies, and relevant industry and credit market conditions, and
have considered various alternatives in respect of such matters;

                WHEREAS, the Boards have received, reviewed, and considered the
recommendations of, and the materials presented by, the senior management of their respective
Revlon Group Company and such Revlon Group Company’s legal, financial, and other outside
professional advisors as to the financial condition of the Revlon Group Companies, as a whole,
and the relative risks and benefits of pursuing cases under the provisions of chapter 11 of title 11
of the United States Code (the “Bankruptcy Code”) and Part IV of the Companies’ Creditors
Arrangement Act, R.S.C. 1985, c. C-36, as amended (the “CCAA”);

            WHEREAS, the Boards have reviewed and considered the Revlon Group
Companies’ collective need to employ individuals and/or firms as counsel, professionals,
 22-10760-dsj      Doc 1    Filed 06/15/22 Entered 06/15/22 23:41:34             Main Document
                                         Pg 16 of 26



consultants or financial advisors to represent and assist each Revlon Group Company in carrying
out its duties in connection with the chapter 11 cases under the Bankruptcy Code and the CCAA;

                WHEREAS, the Boards have reviewed and considered the Revlon Group
Companies’ collective need for financing in connection with the chapter 11 cases under the
Bankruptcy Code, and have determined that it is in the best interests of such Revlon Group
Company, its equity holders, its creditors as a whole, and other parties in interest, for certain of
the Revlon Group Companies and certain of their subsidiaries and affiliates to enter into the DIP
Credit Agreements (as defined below) and one or more related agreements and amendments
thereto with the financial institutions from time to time party thereto, pursuant to which the Revlon
Group Companies will obtain post-petition debtor-in-possession financing to fund their chapter 11
cases and grant the liens, including the priming liens, required thereby;

                WHEREAS, the Boards have reviewed and considered the Revlon Group
Companies’ collective need under the DIP Documents (as defined below) to provide adequate
protection to the Secured Lenders (as defined below) in exchange for the ability for the Revlon
Group Companies to use certain cash collateral that is security for the Secured Lenders party to
certain of the Revlon Group Companies’ prepetition debt agreements;

               WHEREAS, the Boards have reviewed and considered the need for the Revlon
Group Companies to take certain actions in order to perfect any lien or security interest granted
under the Interim DIP Order (as defined below) or any of the Credit and Security Documents (as
defined below);

               WHEREAS, the Boards have reviewed and considered the need for Authorized
Persons (as defined below) to take further actions to carry out the intent and purpose of the
following resolutions, perform the obligations of each Revlon Group Company under the
Bankruptcy Code and pay fees and expenses in connection with the transactions contemplated by
the below resolutions; and

                 WHEREAS, the Boards have reviewed and considered certain actions that may
have previously been taken by any director, officer, employee, manager, member, stockholder,
general partner or agent of any Revlon Group Company in connection with or related to the matter
set forth in the below resolutions;

               NOW, THEREFORE, BE IT:

               1. Bankruptcy Resolutions

                       a. Chapter 11 Filings

                 RESOLVED, that each Board, acting in its Official Capacity with respect to its
applicable Revlon Group Company, hereby determines that it is desirable and in the best interests
of such Revlon Group Company, its equity holders, its creditors as a whole, and other parties in
interest, that such Revlon Group Company file a voluntary petition for relief (the “Petition” and,
together with the similar petitions by all other Revlon Group Companies, the “Petitions”) and
commence a case (collectively, the “Bankruptcy Cases”) under chapter 11 of the Bankruptcy Code
 22-10760-dsj      Doc 1     Filed 06/15/22 Entered 06/15/22 23:41:34              Main Document
                                          Pg 17 of 26



in the United States Bankruptcy Court for the Southern District of New York (the “Bankruptcy
Court”); and be it further

                RESOLVED, that each Board, acting in its Official Capacity with respect to its
applicable Revlon Group Company, hereby authorizes, directs and empowers any officer or other
authorized person of any of the Revlon Group Companies (each, an “Authorized Person”), acting
in the name and on behalf of such Revlon Group Company, to (i) execute and verify the Petition
as well as all other ancillary documents, and to cause the Petition to be filed with the Bankruptcy
Court, and to make or cause to be made prior to the execution thereof, any modifications to the
Petition or ancillary documents, and (ii) execute, verify, and file or cause to be filed all of the
petitions, schedules, lists, and other motions, objections, replies applications, and other papers or
documents advisable, appropriate, convenient, desirable or necessary in connection with the
foregoing; and be it further

                 RESOLVED, that in connection with the filing of the Petitions, each Board, acting
in its Official Capacity with respect to its applicable Revlon Group Company, hereby (i) authorizes
and directs the Authorized Persons, in the name and on behalf of such Revlon Group Company, to
engage in discussions and negotiations with all stakeholders in order to prosecute the Bankruptcy
Cases, (ii) authorizes, adopts and approves the form, terms, and provisions of, and is hereby
authorized and empowered to file with the Bankruptcy Court any motions, pleadings, and any
other documents to be performed or agreed to by such Revlon Group Company that are reasonably
necessary for prosecution of and in connection with the proceedings of the Bankruptcy Cases
(collectively, the “Ancillary Documents”), and (iii) authorizes and directs the Authorized Persons,
in the name and on behalf of such Revlon Group Company, to execute and deliver (with such
changes, additions, and modifications thereto as the Authorized Persons executing the same shall
approve, such approval to be conclusively evidenced by such Authorized Persons’ execution and
delivery thereof) each of the Ancillary Documents to which such Revlon Group Company is a
party and, upon the execution and delivery thereof by each of the other parties thereto, cause such
Revlon Group Company to perform its obligations thereunder; and be it further

                       b. Retention of Professionals

                RESOLVED, that each Board, acting in its Official Capacity with respect to its
applicable Revlon Group Company, hereby authorizes and directs each Authorized Person, in the
name and on behalf of such Revlon Group Company, to employ certain individuals and/or firms
as counsel, professionals, consultants or financial advisors to such Revlon Group Company as such
Authorized Person, or any one of them, may deem advisable, appropriate, convenient, desirable or
necessary to represent and assist such Revlon Group Company in carrying out its duties under the
Bankruptcy Code, and in connection therewith, the Authorized Persons be, and each of them
hereby is, authorized and directed, in the name and on behalf of such Revlon Group Company, to
execute appropriate retention agreements, pay appropriate retainers prior to the filing of the
Petition and to cause to be filed appropriate applications for authority to retain the services of such
individuals and firms; and be it further

              RESOLVED, that each Board, acting in its Official Capacity with respect to its
applicable Revlon Group Company, hereby authorizes and directs each Authorized Person, in the
name and on behalf of such Revlon Group Company, to employ the law firm of Paul, Weiss,
 22-10760-dsj      Doc 1     Filed 06/15/22 Entered 06/15/22 23:41:34              Main Document
                                          Pg 18 of 26



Rifkind, Wharton & Garrison LLP (“Paul, Weiss”) to represent such Revlon Group Company as
chapter 11 counsel and to represent and assist such Revlon Group Company in carrying out its
duties under the Bankruptcy Code, and to take any and all actions to advance such Revlon Group
Company’s rights, including the preparation of pleadings and filings in the Bankruptcy Cases; and
in connection therewith, the Authorized Persons be, and each of them hereby is, authorized and
directed, in the name and on behalf of such Revlon Group Company, to execute appropriate
retention agreements, pay appropriate retainers prior to and immediately upon the filing of the
Petition and to cause to be filed an appropriate application for authority to retain the services of
Paul, Weiss; provided, that any prior actions taken in connection therewith are hereby ratified in
their entirety; and be it further

                 RESOLVED, that each Board, acting in its Official Capacity with respect to its
applicable Revlon Group Company, hereby authorizes and directs each Authorized Person, in the
name and on behalf of such Revlon Group Company, to employ the law firm of MoloLamken,
LLC (“MoloLamken”) to represent such Revlon Group Company as conflicts counsel and provide
certain legal services to such Revlon Group Company with regard to the Bankruptcy Cases; and
in connection therewith, the Authorized Persons be, and each of them hereby is, authorized and
directed, in the name and on behalf of such Revlon Group Company, to execute appropriate
retention agreements, pay appropriate retainers prior to and immediately upon the filing of the
Petition, and to cause to be filed an appropriate application for authority to retain the services of
MoloLamken; provided, that any prior actions taken in connection therewith are hereby ratified in
their entirety; and be it further

                RESOLVED, that each Board, acting in its Official Capacity with respect to its
applicable Revlon Group Company, hereby authorizes and directs each Authorized Person, in the
name and on behalf of such Revlon Group Company, to employ PJT Partners LP (the “Financial
Advisor”) to represent such Revlon Group Company and provide certain financial advisory
services to such Revlon Group Company with regard to the Bankruptcy Cases; and in connection
therewith, the Authorized Persons be, and each of them hereby is, authorized and directed, in the
name and on behalf of such Revlon Group Company, to execute appropriate retention agreements,
pay appropriate retainers prior to and immediately upon the filing of the Petition, and to cause to
be filed an appropriate application for authority to retain the services of the Financial Advisor;
provided, that any prior actions taken in connection therewith are hereby ratified in their entirety;
and be it further

               RESOLVED, that each Board, acting in its Official Capacity with respect to its
applicable Revlon Group Company, hereby authorizes and directs each Authorized Person, in the
name and on behalf of such Revlon Group Company, to employ Alvarez & Marsal North America,
LLC (the “Consultant”) to represent such Revlon Group Company and provide consulting services
to such Revlon Group Company with regard to the Bankruptcy Cases; and in connection therewith,
the Authorized Persons be, and each of them hereby is, authorized and directed, in the name and
on behalf of such Revlon Group Company, to execute appropriate retention agreements, pay
appropriate retainers prior to and immediately upon the filing of the Petition and to cause to be
filed an appropriate application for authority to retain the services of the Consultant; provided, that
any prior actions taken in connection therewith are hereby ratified in their entirety, including entry
into an agreement (the “CRO Agreement”) among the Revlon Group Companies and the
Consultant, to provide management services to the Revlon Group Companies; and be it further
 22-10760-dsj      Doc 1    Filed 06/15/22 Entered 06/15/22 23:41:34             Main Document
                                         Pg 19 of 26



                RESOLVED, that each Board, acting in its Official Capacity with respect to its
applicable Revlon Group Company, hereby authorizes and directs each Authorized Person, in the
name and on behalf of such Revlon Group Company, to employ Kroll, LLC (the “Claims Agent”)
to represent such Revlon Group Company and provide notice and claims agent services to such
Revlon Group Company with regard to the Bankruptcy Cases; and in connection therewith, the
Authorized Persons be, and each of them hereby is, authorized and directed, in the name and on
behalf of such Revlon Group Company, to execute appropriate retention agreements, pay
appropriate retainers prior to and immediately upon the filing of the Petition and to cause to be
filed an appropriate application for authority to retain the services of the Claims Agent; provided,
that any prior actions taken in connection therewith are hereby ratified in their entirety; and be it
further

                       c. Post-Petition Financing

                RESOLVED, that each Board, acting in its Official Capacity with respect to its
applicable Revlon Group Company, hereby determines that it is desirable and in the best interests
of such Revlon Group Company, its equity holders, its creditors as a whole, and other parties in
interest, that such Revlon Group Company shall be, and hereby is, authorized to obtain and/or
provide senior secured superpriority postpetition financings (the “DIP Financings”) on the terms
and conditions of the proposed debtor in possession credit agreements (the “DIP Credit
Agreements”), which terms and conditions shall include any intercompany debtor-in-possession
financing arrangements, whether evidenced by a separate credit agreement, the Interim DIP Order
or otherwise, among, as applicable, the applicable Borrowers, the Guarantors, the financial
institutions from time to time party thereto as lenders (the “DIP Lenders”), the administrative
agents and collateral agents (in such capacities, the “DIP Agents” and each, individually, a “DIP
Agent”), and other agents and entities from time to time party thereto substantially in the forms
presented to such Board on or prior to the adoption of this resolution, with such changes, additions,
and modifications thereto as any Authorized Person executing the same shall approve, such
approval to be conclusively evidenced by an Authorized Person’s execution and delivery thereof;
and be it further

                RESOLVED, that each Board, acting in its Official Capacity with respect to its
applicable Revlon Group Company, hereby authorizes and directs each of the Authorized Persons
to enter into, execute, deliver and perform the transactions, and any and all other agreements,
instruments and documents deemed necessary or desirable to evidence and secure the obligations
under the DIP Financing on the terms set forth in the Credit and Security Documents (as defined
herein), including without limitation, any loan or credit agreements, promissory notes, deeds of
trust, mortgages, deeds to secure debt, security agreements, pledge agreements, assignments of
leases and rents, assignments, guaranties, subordination agreements, intercreditor agreements,
agreements with third parties (including, without limitation, lockbox agreements, cash
management agreements and deposit account control agreements) relating to the collateral,
indemnity agreements, certificates, affidavits, financing statements, applications, notices and other
agreements of any kind or nature whatsoever substantially in the form presented to such Board on
or in advance of the date hereof, with such changes, additions, and modifications thereto as any
Authorized Person executing the same shall approve, such approval to be conclusively evidenced
by an Authorized Person’s execution and delivery thereof (collectively, with the DIP Credit
Agreements, the “Credit and Security Documents”); and be it further
 22-10760-dsj      Doc 1    Filed 06/15/22 Entered 06/15/22 23:41:34             Main Document
                                         Pg 20 of 26



                RESOLVED, that each Board, acting in its Official Capacity with respect to its
applicable Revlon Group Company, hereby determines that the form, terms and provisions of, the
execution and delivery of, and the performance of the transactions and obligations contemplated
by the Credit and Security Documents to which such Revlon Group Company is a party, are
hereby, authorized, approved and adopted in all respects and each Revlon Group Company is
hereby authorized to (i) execute and deliver the Credit and Security Documents to which such
Revlon Group Company is a party, (ii) perform its obligations thereunder, including to borrow or
lend, as applicable, under the DIP Credit Agreements, mortgage, charge, assign, pledge and
otherwise transfer and encumber and grant security interests in its present and future real and
leasehold property, equipment, inventory, intangibles, undertakings and other property and assets
as security for its present and future obligations under or in connection with the DIP Financing
and the Credit and Security Documents to which the Revlon Group Company is a party, and (iii)
take all actions contemplated thereby; and be it further

                RESOLVED, that each Board, acting in its Official Capacity with respect to its
applicable Revlon Group Company, hereby determines that such Revlon Group Company will
obtain benefits from the use of collateral, including cash collateral, as that term is defined in
section 363(a) of the Bankruptcy Code (the “Cash Collateral”), which is security for certain
prepetition secured lenders (collectively, the “Secured Lenders”) party to (i) the Asset-Based
Revolving Credit Agreement, dated as of September 7, 2016 (as amended, restated, waived,
supplemented or otherwise modified prior to the date hereof), by and among Revlon Consumer
Products Corporation (“RCPC”), Revlon, Inc., certain local borrowing subsidiaries as may be from
time to time borrowers thereunder, the lenders from time to time party thereto and Citibank, N.A.
(“Citibank”), as the administrative agent and collateral agent, (ii) the Term Credit Agreement dated
as of September 7, 2016 (as amended, restated, waived, supplemented or otherwise modified prior
to the date hereof), by and among RCPC, Revlon, Inc., the lenders from time to time party thereto
and Citibank, as administrative agent and collateral agent and (iii) the BrandCo Credit Agreement,
dated as of May 7, 2020 (as amended, amended and restated, supplemented or otherwise modified
from time to time), by and among RCPC, Revlon, Inc., the lenders party thereto, and Jefferies
Finance LLC, as administrative agent and collateral agent; and be it further

               RESOLVED, that each Board, acting in its Official Capacity with respect to its
applicable Revlon Group Company, hereby determines that, to incur the DIP Financings and to
use and obtain the benefits of the Cash Collateral, and in accordance with sections 363 and 364 of
the Bankruptcy Code, such Revlon Group Company will provide certain adequate protection to
the Secured Lenders (the “Adequate Protection Obligations”), and authorizes and directs such
Revlon Group Company, as debtor and debtor in possession under the Bankruptcy Code, and each
of the Authorized Persons, to negotiate and incur the Adequate Protection Obligations and to
undertake any and all related transactions as in his or her reasonable discretion is determined to be
necessary, desirable, or appropriate in connection with providing such adequate protection; and be
it further

                RESOLVED, that each Board, acting in its Official Capacity with respect to its
applicable Revlon Group Company, hereby authorizes, adopts and approves the form, terms, and
provisions of the Interim DIP Order to which such Revlon Group Company is or will be subject
and the actions and transactions contemplated thereby, and each Authorized Person be, and hereby
is, authorized and empowered, in the name of and on behalf of such Revlon Group Company, to
 22-10760-dsj      Doc 1    Filed 06/15/22 Entered 06/15/22 23:41:34             Main Document
                                         Pg 21 of 26



take such actions and negotiate or cause to be prepared and negotiated and to execute, deliver,
perform, and cause the performance of, the Interim DIP Order, and such other agreements,
certificates, instruments, receipts, petitions, motions, or other papers or documents to which such
Revlon Group Company is or will be a party, including any security and pledge agreement or
guaranty agreement (collectively with the Interim DIP Order and the Credit and Security
Documents, the “DIP Documents”), incur and pay or cause to be paid all fees and expenses and
engage such persons, in each case, in the form or substantially in the form thereof presented to
such Board on prior to the adoption of this resolution, with such changes, additions, and
modifications thereto as an Authorized Person executing the same shall approve, such approval to
be conclusively evidenced by an Authorized Person’s execution and delivery thereof; and be it
further

                RESOLVED, that each Board, acting in its Official Capacity with respect to its
applicable Revlon Group Company, hereby authorizes and directs each of the Authorized Persons,
in the name and on behalf of such Revlon Group Company, to file or to authorize the Agent to file
any Uniform Commercial Code (the “UCC”) financing statements, any other equivalent filings,
any intellectual property filings and recordation and any necessary assignments for security or
other documents in the name of such Revlon Group Company that the Agent deems necessary,
desirable or appropriate to perfect any lien or security interest granted under the Interim DIP Order
or any of the Credit and Security Documents, including any such UCC financing statement
containing a generic description of collateral, such as “all assets,” “all property now or hereafter
acquired” and other similar descriptions of like import, and to execute and deliver, and to record
or authorize the recording of, such mortgages and deeds of trust in respect of real property of such
Revlon Group Company and such other filings in respect of intellectual and other property of such
Revlon Group Company, in each case as the Agent may reasonably request to perfect the security
interests of the Agent under the Interim DIP Order; and be it further

                RESOLVED, that each Board, acting in its Official Capacity with respect to its
applicable Revlon Group Company, hereby authorizes and directs each of the Authorized Persons,
in the name and on behalf of such Revlon Group Company, to take all such further actions,
including to pay or approve the payment of appropriate fees and expenses payable in connection
with the Adequate Protection Obligations and appropriate fees and expenses incurred by or on
behalf of such Revlon Group Company, which shall be in his or her sole judgment necessary,
proper or advisable to perform any of such Revlon Group Company’s obligations under or in
connection with the Interim DIP Order, the Credit and Security Documents, any other documents
related to the provision of adequate protection, or any of the other ancillary documents and the
transactions contemplated therein and to carry out fully the intent of the foregoing resolutions; and
be it further

               2. CCAA Resolutions

                RESOLVED, that each Canadian Board, acting in its Official Capacity with
respect to its applicable Canadian Company, hereby determines that it is desirable and in the best
interests of such Canadian Company, its equity holders, its creditors as a whole, and other parties
in interest, that such Canadian Company file or cause to be filed an application for relief (the
proceedings commenced by such application, the “CCAA Recognition Proceedings”) under the
 22-10760-dsj      Doc 1    Filed 06/15/22 Entered 06/15/22 23:41:34             Main Document
                                         Pg 22 of 26



provisions of the CCAA, in the Ontario Superior Court of Justice (Commercial List) (the
“Canadian Court”); and be it further

                 RESOLVED, that each Canadian Board, acting in its Official Capacity with
respect to its applicable Canadian Company, hereby determines that it is desirable and in the best
interests of such Canadian Company, its equity holders, its creditors as a whole, and other parties
in interest, that (i) Revlon, Inc. act as the foreign representative pursuant to section 45(1) of the
CCAA (the “Foreign Representative”) on behalf of the Canadian Companies’ estates and (ii) such
Canadian Company file or cause to be filed with the Bankruptcy Court or Canadian Court, as
applicable, all motions, applications, and other papers or documents advisable, appropriate,
convenient, desirable or necessary to effectuate such appointment; and be it further

               RESOLVED, that in connection with the filing of the CCAA Recognition
Proceedings, each Canadian Board, acting in its Official Capacity with respect to its applicable
Canadian Company, hereby (i) authorizes, adopts and approves the form, terms, and provisions
of, and is hereby authorized and empowered to file with the Canadian Court any motions,
pleadings, and any other documents to be performed or agreed to by such Canadian Company that
are reasonably necessary for prosecution of and in connection with the proceedings of the CCAA
Recognition Proceedings (collectively, the “Canadian Ancillary Documents”), (ii) authorizes and
directs the Foreign Representative, in the name and on behalf of such Canadian Company, to
execute and deliver (with such changes, additions, and modifications thereto as the Foreign
Representative executing the same shall approve, such approval to be conclusively evidenced by
such Foreign Representative’s execution and delivery thereof) each of the Canadian Ancillary
Documents to which such Canadian Company is a party and, upon the execution and delivery
thereof by each of the other parties thereto, cause such Canadian Company to perform its
obligations thereunder; and be it further

                RESOLVED, that each Canadian Board, acting in its Official Capacity with
respect to its applicable Canadian Company, hereby authorizes and directs each Authorized
Person, in the name and on behalf of such Canadian Company, to employ the law firm of Osler,
Hoskin & Harcourt LLP (“Osler”) to represent such Canadian Company as CCAA Recognition
Proceedings counsel and to represent and assist such Canadian Company in carrying out its duties
under the CCAA, and to take any and all actions to advance such Canadian Company’s rights,
including the preparation of pleadings and filings in the CCAA Recognition Proceedings; and in
connection therewith, the Authorized Persons be, and each of them hereby is, authorized and
directed, in the name and on behalf of such Canadian Company, to execute appropriate retention
agreements, pay appropriate retainers prior to and immediately upon the filing of the CCAA
Recognition Proceedings and to cause to be filed an appropriate application for authority to retain
the services of Osler; and be it further

               3. General

                RESOLVED, that each of the Authorized Persons be, and each of them
individually hereby is, authorized, directed and empowered from time to time in the name and on
behalf of each Revlon Group Company, to (i) take such further actions and execute and deliver
such certificates, instruments, guaranties, notices, and documents as may be required or as such
Authorized Person or any one of them may deem advisable, appropriate, convenient, desirable or
 22-10760-dsj      Doc 1    Filed 06/15/22 Entered 06/15/22 23:41:34            Main Document
                                         Pg 23 of 26



necessary to carry out the intent and purpose of the foregoing resolutions, including the execution
and delivery of any security agreements, pledges, financing statements, and the like, (ii) perform
the obligations of each Revlon Group Company under the Bankruptcy Code or the CCAA, with
all such actions to be performed in such manner, and all such certificates, instruments, guaranties,
notices, and documents to be executed and delivered in such form, as the Authorized Person
performing or executing the same shall approve, and the performance or execution thereof by such
Authorized Person shall be conclusive evidence of the approval thereof by such Authorized Person
and by such Revlon Group Company, and (iii) pay fees and expenses in connection with the
transactions contemplated by the foregoing resolutions; and be it further

                 RESOLVED, that all actions previously taken by any director, officer, employee,
manager, member, stockholder, general partner or agent of any Revlon Group Company in
connection with or related to the matters set forth in or reasonably contemplated or implied by the
foregoing resolutions be, and each of them hereby is, adopted, ratified, confirmed and approved in
all respects as the acts and deeds of such Revlon Group Company.

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22-10760-dsj        Doc 1    Filed 06/15/22 Entered 06/15/22 23:41:34   Main Document
                                          Pg 24 of 26



                                         Exhibit A
                                   Delaware Corporations

  •   Revlon, Inc.

  •   Revlon Consumer Products Corporation

  •   Revlon Development Corp.

  •   Revlon Government Sales, Inc.

  •   Almay, Inc.

  •   Cutex, Inc.

  •   OPP Products, Inc.

  •   Beautyge U.S.A., Inc.

  •   Revlon International Corporation

  •   SinfulColors Inc.

  •   Bari Cosmetics, Ltd.

  •   Riros Group Inc.

  •   Realistic Roux Professional Products Inc.

  •   Beautyge Brands USA, Inc.

  •   DF Enterprises, Inc.

  •   FD Management, Inc.

  •   RDEN Management, Inc.

  •   PPI Two Corporation

  •   Elizabeth Arden (Financing), Inc.

  •   Elizabeth Arden Travel Retail, Inc.
22-10760-dsj    Doc 1       Filed 06/15/22 Entered 06/15/22 23:41:34   Main Document
                                         Pg 25 of 26



                                         Exhibit B
                                   New York Corporations

  •   Riros Corporation

  •   Charles Revson Inc.

  •   North America Revsale Inc.

  •   Roux Laboratories, Inc.
22-10760-dsj    Doc 1    Filed 06/15/22 Entered 06/15/22 23:41:34   Main Document
                                      Pg 26 of 26



                                     Exhibit C
                                   Beautyge SPVs

  •   Beautyge II, LLC

  •   BrandCo Almay 2020 LLC

  •   BrandCo Charlie 2020 LLC

  •   BrandCo CND 2020 LLC

  •   BrandCo Curve 2020 LLC

  •   BrandCo Elizabeth Arden 2020 LLC

  •   BrandCo Giorgio Beverly Hills LLC

  •   BrandCo Halston 2020 LLC

  •   BrandCo Jean Nate 2020 LLC

  •   BrandCo Mitchum 2020 LLC

  •   BrandCo Multicultural Group 2020 LLC

  •   BrandCo PS 2020 LLC

  •   BrandCo White Shoulders 2020 LLC
